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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------x
In re:                                                       Chapter 11

PARK AVENUE LEATHER GOODS LLC,                               Case No. 20-12495
                                    Debtor.
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              DECLARATION OF STEVEN M. CHERNIAK IN SUPPORT OF
             DEBTOR’S CHAPTER 11 PETITION AND FIRST DAY MOTIONS

        I, Steven M. Cherniak, hereby declare under penalty of perjury:

        1.       I am the Chief Operating Officer of Park Avenue Leather Goods LLC, a limited

liability company organized under the laws of the State of New York and the above-captioned

debtor and debtor in possession (the “Debtor”).

        2.       I have served in this role since June 2018. In my capacity as the Chief Operating

Officer, I am generally familiar with the Debtor’s day-to-day operations, business and financial

affairs, and books and records. I submit this declaration to assist the Court and the parties in

interest in understanding the circumstances compelling the commencement of this Chapter 11 case,

to provide evidentiary support for the Debtor’s Chapter 11 petition and certain motions filed today

(collectively, the “First Day Motions”), and to set forth certain additional information about the

Debtor, as required by Local Rule 1007-2.

        3.       Except as otherwise indicated, all facts in this declaration are based upon my

personal knowledge, my discussions with the Debtor’s advisors, and my review of relevant
documents and information concerning the Debtor’s operations and financial affairs, or my

opinions based upon my experience and knowledge. I am over the age of eighteen and am

authorized to submit this declaration on behalf of the Debtor. If called upon to testify, I could and

would testify competently to the facts set forth in this declarant.

                                            Introduction

       4.       The Debtor – an iconic luxury luggage retailer and Manhattan staple since 1946 –

is suffering profoundly from the Covid-19 Pandemic. As a result of the pandemic, the Debtor was

forced to close and vacate its one brick and motor store that was located at 445 Park Ave, New

York, New York, formerly surrender its office space that was located at 501 Madison Avenue,

New York, New York, furlough all but one employee, and dramatically reduce orders for new

merchandise. Further, with businesses closed around the globe, the cancellation of in-person

business meetings and conferences, and an unprecedent decline in personal vacation travel, the

demand for high-end, formal and professional luggage, travel accessories, and leather goods,

comprising significantly all of the Debtor’s business has experienced a severe and lasting decline.

The Debtor is not alone in experiencing a profound decline in business because of the Covid-19

Pandemic. Among other high-end luggage retailers that have closed or are in the process of closing

are Specialty Luggage in Pittsburgh, Pennsylvania, and Edwards Luggage in Palo Alto, California.

       5.       The Debtor determined to commence this Chapter 11 case to conduct an operational

rightsizing, including the rejection of an existing store lease and an existing license agreement for

its retail website, and to obtain post-petition financing necessary to fund this Chapter 11 case and

provide     ongoing   capital   on   a   go-forward    basis   for    its   internet   based   business

(https://tanthony.com/) and its new retail store located at 107 East 57th Street in Manhattan. These

circumstances led to successful negotiations with the Debtor’s secured lender, Bespoke Capital



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Services LLC, and its equity holder, CSC T. Anthony, LLC, 1 regarding the filing of the Debtor’s

Voluntary Petition for relief under the small business provisions of Subchapter 5 of Chapter 11 of

the Bankruptcy Code and the funding of a debtor in possession loan to provide immediate access

to liquidity, preserve the going concern value of the Debtor’s business and to eventually enable

the return of the Debtor’s furloughed employees.

                           Evidentiary Support for First Day Motions

       6.      Contemporaneously herewith, the Debtor is filing five First Day Motions seeking

orders granting various forms of relief intended to stabilize the Debtor’s business operations and

facilitate the efficient administration of this Chapter 11 case.

       7.      I am familiar with the content and substance of the First Day Motions. The facts

stated therein are true and correct to the best of my knowledge, information and belief, and I

believe that the relief sought in each of the First Day Motions is necessary to enable the Debtor to

operate in Chapter 11 with minimal disruption to its business operations and constitutes a critical

element in successfully implementing a Chapter 11 strategy. A description of the relief requested

and the facts supporting each of the First Day Motions follows below.

       A.      Debtor’s Motion for Entry of an Order (I) Authorizing the Rejection of an
               Unexpired Lease for Real Property Located at 445 Park Avenue, New, New
               York 10022 Nunc Pro Tunc to Petition Date, (II) Authorizing the
               Abandonment of Related Personal Property, and (III) Granting Related Relief
               (the “Store Lease Rejection Motion”).

       8.      Pursuant to the Store Lease Rejection Motion, the Debtor seeks entry of an Order

(a) authorizing the Debtor’s rejection of the unexpired nonresidential lease (as amended, the “Store

Lease”) between the Debtor, as tenant, and Park Avenue Properties Associates LLC, as landlord




1
       Bespoke Capital Services LLC and CSC T. Anthony, LLC share common ownership
       with the Debtor.
                                                  3
(the “Landlord”), for a portion of the ground floor and a portion of the basement of the building

located at 445 Park Avenue, New York, New York 10022 (the “Property”) nunc pro tunc to the

Petition Date; (b) authorizing the abandonment of certain equipment, fixtures, furniture, or other

personal property that are located at the Property (collectively, the “Personal Property”); and (c)

granting related relief.

        9.      On or about June 5, 2018, the Store Lease was assigned by T. Anthony Ltd. (whose

business was contemporaneously acquired by the Debtor) to the Debtor with the written consent

of the Landlord. The Store Lease expires on June 30, 2039 and the base and additional rent under

the Store Lease is currently the approximate amount of $95,000 per month. The Debtor has now

determined that it is not economically feasible or beneficial to the Debtor and its estate to continue

with the Store Lease because of the impact of the Covid-19 Pandemic on all travel businesses,

including luggage businesses and the fact that office workers have not returned to Midtown

Manhattan in significant numbers. The Debtor and its advisors have also determined that no net

benefit will be realized from any effort on the part of the Debtor to retain and potentially market

the Store Lease because of the lack of demand for luxury retail space in Midtown Manhattan.

Similarly, because of the Covid-19 Pandemic, the Personal Property (which consists of store

fixtures and furniture) remaining at the Property has de minimis value or no value and the costs to

the Debtor of retrieving, marketing, and reselling the Personal Property will exceed any recovery

that the Debtor and its estate could reasonably obtain in exchange for such property.

        10.     Furthermore, prior to the Petition Date, the Debtor vacated and unconditionally

surrendered the Property to the Landlord. The Store Lease to be rejected provides no benefit to

the Debtor’s estate and its rejection will result in savings of approximately $95,000 per month in

rent and associated costs. Absent rejection, the Debtor would be obligated to pay rent under the



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Store Lease even though it has ceased operations at and is no longer in possession of the Property.

Accordingly, in an effort to avoid unnecessary post-petition rent and administrative expenses, the

Debtor has determined in an exercise of its business judgment and in the best interest of the

Debtor’s estate to seek the rejection of the Store Lease and abandonment of the Personal Property

nunc pro tunc to the Petition Date.

       B.      Debtor’s Motion for Entry of an Order Authorizing Rejection of License
               Agreement with Moda Italiana, Inc. Nunc Pro Tunc to Petition Date (the
               “License Rejection Motion”)

       11.     Pursuant to the License Rejection Motion, the Debtor seeks entry of an order

authorizing it to reject its License Agreement with Moda Italian Inc. (“Moda”) dated August 28,

2019 (the “License Agreement”) nunc pro tunc to the Petition Date. As the licensee under the

License Agreement, Moda runs the Debtor’s website through which luggage and travel related

accessories are sold to retail customers. The Debtor believes the License Agreement provides no

benefit to the Debtor’s estate because it provides for the payment of above-market fees to Moda.

Indeed, the Debtor projects that Moda’s fees under the License Agreement will approximate half

of the Debtor’s net sales from its website during the first thirty (30) days of its bankruptcy case.

Following the rejection of the License Agreement, the Debtor intends to self-manage its retail

website. Accordingly, in an effort to avoid unnecessary administrative expenses, the Debtor has

determined in an exercise of its business judgment and in the best interest of the Debtor’s estate to

seek the rejection of the License Agreement with Moda nunc pro tunc to the Petition Date.




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       C.      Debtor’s Motion for Entry of an Order (I) Extending Time to File Schedules
               of Assets and Liabilities, Schedules of Current Income and Expenditures,
               Schedules of Executory Contracts and Unexpired Leases, and Statements of
               Financial Affairs, and (II) Granting Related Relief (the
               “Schedules and Statements Extension Motion”).

       12.     Pursuant to the Schedules and Statements Extension Motion, the Debtor seeks entry

of an order extending the deadline by which the Debtor must file its schedules of assets and

liabilities, schedules of current income and expenditures, schedules of executory contracts and

unexpired leases, and statements of financial affairs (collectively, the “Schedules and Statements”)

by thirty days, for a total of forty-four days from the Petition Date, without prejudice to the

Debtor’s ability to request additional extensions.

       13.     Given the size and complexity of the Debtor’s business and financial affairs, and

the critical matters that the Debtor’s management and professionals were required to address prior

to the commencement of this Chapter 11 case, the Debtor was not in a position to complete the

Schedules and Statements as of the Petition Date. Accordingly, the relief requested in the

Schedules and Statements Extension Motion is warranted under the circumstances.

       D.      Debtor-in-Possession Financing and Cash Collateral Motion

       14.     Once the Debtor determined that a restructuring would be executed through a

Chapter 11 filing, the Debtor secured a debtor-in-possession (“DIP”) financing proposal from its

exiting prepetition lender, Bespoke Capital Services LLC, for which it shares common indirect

ownership. Bespoke Capital Services LLC was unwilling to provide DIP financing on an

unsecured, junior-lien, or pari passu basis. Because of the impact of the ongoing Covid-19

Pandemic on the travel industry, the Debtor’s balance sheet insolvency and history of operating

losses, my belief is that debtor in possession financing is not available on any terms from any party

that lacks an affiliation with the Debtor. Accordingly, and subject to approval of the Court, the



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Debtor and Bespoke Capital Services LLC plans to enter into a DIP financing agreement that will

facilitate the Chapter 11 reorganization process by providing the Debtor with new capital—in the

form of a senior secured, priming, superpriority debtor-n-possession loan in the principal amount

of $750,000 (the “DIP Financing”)—which is needed to allow the Debtor to continue operations

through the reorganization process.

       15.     Based on my experience with the Debtor’s business, interim approval of the DIP

Financing is necessary and appropriate to allow the Debtor immediate access to liquidity pending

approval of the Debtor’s motion to approve DIP Financing on a final basis. Interim funding in the

amount of $170,000 and immediate access to cash collateral of Bespoke Capital Services LLC, as

prepetition secured lender, will provide the Debtor with sufficient liquidity to assure its employees,

customers, vendors and suppliers that the Debtor has the working capital necessary to continue its

operations in the ordinary course and pay critical vendors as part of a critical vendor program in

the event the Court approves such payments.

       16.     As of the Petition Date, the Debtor will have less than $7,300 in cash on hand and

anticipates it will experience cash losses totally approximately $69,000 during the next four weeks.

Thus, from the outset of its Chapter 11 case, the Debtor will require immediate access to the DIP

Financing and authority to use cash collateral to ensure it has sufficient liquidity to operate its

business as a going concern. In my professional opinion, the proposed DIP Financing is sufficient

to operate the Debtor’s operations and to maintain sufficient liquidity, for the projected duration

of the Chapter 11 case, thereby providing the Debtor with (a) sufficient working capital to operate

its business and administer its estate; (b) an appropriate liquidity cushion for anticipated vendor

contraction and tightening of trade terms; (c) the ability to pay administrative expenses incurred

during its Chapter 11 case; and (d) a positive message to convey to the luggage industry that its



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Chapter 11 case is sufficiently funded, which is critical to address the concerns of the Debtor’s

customers, employees and vendors. As such, immediate access to Bespoke Capital Services LLC’s

cash collateral and interim financing under the DIP loan agreement is essential to the Debtor’s

ability to minimize disruptions and avoid irreparable harm to its business. Therefore, on behalf of

the Debtor, I respectfully submit that the Court should approve the DIP Financing motion.

       E.      Debtor’s Bank Account Motion

       17.     The Debtor seeks entry of an order (the “Bank Account Motion”) authorizing the

Debtor to (i) continue and maintain it existing bank accounts and (ii) continue using its existing

check stock. As of the Petition Date, the Debtor maintains three (3) bank accounts (the “Bank

Accounts”) at HSBC Bank USA, N.A. (account numbers ending in 5595, 5609, and 5633). To

minimize administrative expense, delay and interruption to its internet-based business, the Debtor

requests authority to continue using its existing Bank Accounts.

       18.     In the ordinary course of business, the Debtor uses sequentially numbered check

stock with the Debtor’s logo printed thereon. To minimize administrative expense and delay, the

Debtor requests authority to continue using its existing check stock, substantially in the form

existing immediately prior to the Petition Date, without reference to the Debtor’s status as “Debtor

in Possession.”

       19.     I believe that the relief requested in the Bank Account Motion is in the best interest

of the Debtor’s estate, its creditors, and all other parties in interest, and will enable the Debtor to

continue to operate in the ordinary course without disruption. Accordingly, on behalf of the

Debtor, I respectfully submit that the Court should approve the Bank Account Motion.




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        F.      Debtor’s Motion for (I) Authority to Pay Certain Prepetition Obligations to
                Critical Vendors; and (II) Related Relief (the “Critical Vendors Motion”)

        20.     Through the Critical Vendors Motion, the Debtor requests entry of an order (i)

authorizing, but not directing, the Debtor to pay up to $100,000 on an interim basis (the “Interim

Critical Vendor Cap”) and an additional $200,000 (“Final Critical Vendor Cap” and together with

the Interim Critical Vendor Cap, the “Critical Vendor Caps”) in aggregate critical vendor claims

of critical vendors and (ii) granting related relief.

        21.     The Debtor’s customers expect and rely upon the Debtor’s retail store and website

to stock unique and specialized products and brands. As such, the Debtor’s ongoing ability to

obtain goods and services from its Critical Vendors as provided herein is necessary to preserve the

value of its estate for the benefit of its stakeholders. To keep its business running efficiently and

smoothly, the Debtor relies on vendors that are sole- or limited-source suppliers of certain popular

branded or otherwise “in demand” goods that are not available from other vendors and third-party

suppliers. The Debtor does not have long-term supply agreements with its vendors and, instead,

sources goods on an order-by-order basis. Consequently, the Debtor has limited leverage to

compel performance on commercially reasonable terms.

        22.     Absent the prompt payment of the Critical Vendor Claims, the Debtor would be

unable to maintain sufficient levels of inventory with the variety and quality its customers have

come to expect. The Debtor must be able to continue to operate its retail store and website in the

ordinary course of business in order to maximize the value available for distribution to creditors,

which requires cooperation from certain key vendors. Consequently, the Debtor’s request for

authority to honor the Critical Vendor Claims is both consistent with the priorities established by

the Bankruptcy Code and necessary to preserve the value of its business.




                                                    9
       23.     In addition, the Debtor’s authority to address its Critical Vendor Claims in the

initial days of this Chapter 11 case will send a clear signal to its suppliers and customers that the

Debtor is both willing and, importantly, able to conduct business as usual after the Petition Date.

The Debtor will also use its authority to secure customary trade terms from its vendors. Absent

such relief the Debtor may suffer immediate and irreparable harm because Critical Vendors may

have no incentive to continue to provide the Debtor with trade credit. In fact, the Debtor believes

many vendors will begin demanding accelerated payment, cash-in-advance or cash-on-delivery.

Further contractions of trade terms and the unavailability of “in demand” goods could be

catastrophic for the Debtor, its estate, creditors, and all stakeholders. In contrast, the preservation

of working capital through the retention or reinstatement of trade credit in sufficient amounts and

on favorable terms will conserve liquidity and allow for continuation of the Debtor’s businesses.

       24.     In sum, I believe that the relief requested in the Critical Vendors Motion is in the

best interest of the Debtor’s estate, its creditors, and all other parties in interest, and will enable

the Debtor to continue to operate in the ordinary course without disruption that may immediately

and irreparably harm the Debtor’s business. Accordingly, on behalf of the Debtor, I respectfully

submit that the Court should approve the Critical Vendors Motion on an interim basis to avoid

irreparable harm to the Debtor’s estate.

                   Information Required by Local Bankruptcy Rule 1007-2

       25.     Local Bankruptcy Rule 1007-2 requires certain information related to the Debtor,

which I have provided herein and in Exhibit A through Exhibit F hereto.             Specifically, this

declaration and the exhibits contain the following information with respect to the Debtor: 2




2
       The information contained in Exhibit A through Exhibit F attached to this declaration
does not constitute an admission of liability by, nor is binding on, the Debtor. The Debtor
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   •   Pursuant to Local Bankruptcy Rule 1007-2(a)(3), I state, that to the best of my knowledge,
       information and belief, that no creditors’ committee was organized prior to the entry of the
       order for relief in this Chapter 11 case.

   •   Pursuant to Local Bankruptcy Rule 1007-2(a)(4), Exhibit A hereto provides the following
       information with respect to each of the holders of the Debtor’s twenty largest unsecured
       claims, excluding claims of insiders: the creditor’s name; the address (including the
       number, street, apartment, or suite number, and zip code, if not provided in the post office
       address); the telephone number; the name(s) of the person(s) familiar with the debtor’s
       account; a brief description of the claim; the nature and approximate amount of the claim;
       and an indication of whether the claim is contingent, unliquidated, disputed, or partially
       secured.

   •   Pursuant to Local Bankruptcy Rule 1007-2(a)(5), Exhibit B hereto provides the following
       information with respect to the holder of the only secured claim against the Debtor: the
       creditor’s name; the address (including the number, street, apartment, or suite number, and
       zip code, if not provided in the post office address); the amount of the claim; a brief
       description of the claim; an estimate of the value of the collateral securing the claim; and
       an indication of whether claim or lien is disputed at this time.

   •   Pursuant to Local Bankruptcy Rule 1007-2(a)(6), Exhibit C hereto provides a summary of
       the Debtor’s assets and liabilities.

   •   Pursuant to Local Bankruptcy Rule 1007-2(a)(7), I state that there are no publicly held
       securities of the Debtor.

   •   Pursuant to Local Bankruptcy Rule 1007-2(a)(8), I state that none of the Debtor’s property
       is in the possession or custody of any custodian, public officer, mortgagee, pledge, assignee
       of rents, secured creditors or agent for such an entity.

   •   Pursuant to Local Bankruptcy Rule 1007-2(a)(9), I state that the Debtor has an office
       located at 750 Lexington Avenue, 28th Floor, New York, New York and maintains
       warehouse space at 20 Meridian Road, Eatontown, New Jersey. In addition, the Debtor
       currently has a lease for a retail store located at 445 Park Avenue, New York, New York,
       but has vacated the space and is filing the Store Lease Rejection Motion on the Petition
       Date. Finally, the Debtor has a lease for a retail store located at 107 East 57th Street, New
       York, New York, from which it intends to continue its operations after the Petition Date.

   •   Pursuant to Local Bankruptcy Rule 1007-2(a)(10), I state that Debtor’s substantial assets
       are located at 107 East 57th Street, New York, New York and 20 Meridian Road,
       Eatontown, New Jersey; the Debtor’s books and records are located at 750 Lexington
       Avenue, 28th Floor, New York, New York; and the Debtor has no assets located outside
       the territorial limits of the United States.


reserves all rights to assert that or claim listed herein is a disputed claim or debt, and to challenge
the priority, nature, amount, or status of any such claim or debt.
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•   Pursuant to Local Bankruptcy Rule 1007-2(a)(11), I state that Park Avenue Properties
    Associates LLC v. T. Anthony, LLC and T.A. Remainder Company, Inc., Index No.
    652406/2020, is pending in New York County Supreme Court. In that lawsuit, Park
    Avenue Properties LLC is seeking a monetary judgment against the Debtor for monies
    allegedly due and owing in connection with the retail store that is subject of a lease rejection
    motion that will be filed herewith. A judgment or seizure of the Debtor’s property is not
    imminent.

•   Pursuant to Local Bankruptcy Rule 1007-2(a)(12), Exhibit D hereto sets forth a list of the
    names of the individuals who comprise the Debtor’s existing senior management, their
    tenure with the Debtor, and a belief summary of their relevant responsibilities and
    experience.

•   Pursuant to Local Bankruptcy Rule 1007-2(b)(1)-2(A) and (C), Exhibit E hereto provides
    the estimated amount of payroll of the Debtor’s employees (not including officers, directors
    and equity holders) and the estimated amounts to be paid to officers, equity holders,
    directors and financial and business consultants retained by the debtor, for the 30-day
    period following the Petition Date.

•   Pursuant to Local Bankruptcy Rule 1007-2(b)(3), Exhibit F hereto provides a schedule for
    the 30 day-period following the Petition Date, of estimated cash receipts and
    disbursements, net gain or loss, obligations and receivables expected to accrue but remain
    unpaid, other than professional fees, and any other information relevant to a understanding
    of the foregoing.

                                  [Signature Page Follows]




                                              12
                                           EXHIBIT A

              List of Holders of the Debtor’s Twenty Largest Unsecured Claims

       Please see the List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not

Insiders, which is being filed contemporaneously with this Declaration.          The information

contained in the List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders

shall not constitute an admission of liability by, nor is it binding on, the Debtor. The Debtor

reserves all rights to assert any debt or claim included herein is a disputed claim or debt, and to

challenge the priority, nature, amount, or status of any such claim or debt.




                                                13
                                             EXHIBIT B

                              Holder of the Debtor’s Secured Claim

        Pursuant to Local Bankruptcy Rule 1007-2(a)(5), the following is the Debtor’s only

secured creditor as of the Petition Date:

        Bespoke Capital Services LLC holds a secured claim in the amount of $492,166.06, which

is secured by a lien on, and security interest against substantially all of the Debtor’s assets, whether

now owned or hereafter acquired. The collateral’s value is unknown as of the date hereof.

Bespoke Capital Services LLC is represented by Andrew J. Kelly, Esq., The Kelly Firm, P.C.,

1011 Highway 71, Suite 200, Spring Lake, New Jersey 07762.
                                            EXHIBIT C

                          Summary of Debtor’s Assets and Liabilities

       Pursuant to Local Bankruptcy Rule 1007-2(a)(6), the following are estimates of the

Debtor’s total assets and liabilities. The following financial data is the latest available information

and reflects the Debtor’s financial condition as of the Petition Date.

       The information contained herein shall not constitute an admission of liability by, nor is it

binding on, the Debtor. The Debtor reserves all rights to assert any debt or claim included herein

is a disputed claim or debt, and to challenge the priority, nature, amount, or status of any such

claim or debt.

 Assets and Liabilities                             Amount

 Total Assets (Book Value as of 6.30.20)            Approximately $1.2 million

 Total Liabilities (Book Value as of 6.30.20)       Approximately $3.4 million
                                          EXHIBIT D

                               The Debtor’s Senior Management

        Pursuant to Local Bankruptcy Rule 1007-2(a)(12), the following provides the names of

the individuals who constitute the Debtor’s existing senior management, their tenure with the

Debtor, and a brief summary of their responsibilities and relevant experience as of the Petition

Date.

 Name/Position                    Relevant Experience/Responsibility        Tenure

 Charles S. Cohen                 Chairman/CEO                              June 2018

 Steven M. Cherniak               Chief Operating Officer                   June 2018

 Zach Headophol                   Retail/E-Commerce Advisor                 June 2018

 Nick Smith                       Retail/E-Commerce Advisor                 September 2019
                                          EXHIBIT E

                         The Debtor’s Payroll for the 30-Day Period
                   Following the Filing of the Debtor’s Chapter 11 Petition

        Pursuant to Local Bankruptcy Rule 1007-2(b)(1)-2(A) and (C), the following provides, for
the 30-day period following the Petition Date, the estimated amount of weekly payroll to the
Debtor’s employees (exclusive of officers, directors, and stockholders), the estimated amount paid
and proposed to be paid to officers, directors and stockholders, and the amount paid or proposed
to be paid to financial and business consultants retained by the Debtor.


 Payments                                         Payment Amount
 Payment to employees (not including officers,    $5,831.25
 directors, and stockholders)
 Payments to officers, directors, and             $0.00
 stockholders
 Payments to financial and business consultants   $0.00
                                          EXHIBT F

      The Debtor’s Estimated Cash Receipts and Disbursements for the 30-Day Period
Following the Filing of the Debtor’s Chapter 11 Petition

        Pursuant to Local Bankruptcy Rule 1007-2(b)(3), the following provides, for the 30 day-

period following the Petition Date, the Debtor’s estimated cash receipts and disbursements, net

gain or loss, obligations and receivables expected to accrue but remain unpaid, other than

professional fees.

 Type                                                                  Amount

 Cash Receipts (Net)                                                   $44,815

 Cash Disbursements                                                    $113,943

 Net Cash Loss                                                         $69,128

 Unpaid Post-Petition Date Obligations (Excluding Professional Fees)   $41,030

 Unpaid Post-Petition Date Receivables (Excluding Professional Fees) $0.00
